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CAR-F SHNER CORPORATION
(erroneously sued as “CAR FRESHNER CO.”)

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

IBRAHIM NASSER d/b/a SERIOUS Case No. 3:17-CV-00863 BTM (MDD)
SCENTS (collectively and professionally .
known as ¢¢LITTLE GRENADE»). [Hon. Barry Ted Moskowltz]
Pl . . ff DEFENDANT CAR FRESHNER
amtl > CORPORATION’S MEMORANDUM
OF POINTS AND AUTHORITIES IN
VS- SUPPORT OF MOTION TO
DISMISS THIRD AMENDED
JULIUS SAMANN, LTD; CAR COMPLAINT
FRESHNER CO.; and ENERGIZER _
BRANDS 11 LLC; AMEchN H€ar!ng D.af€= F€bruary 9, 2018
COVERS INC. (collectively, §§:§?§OE@€: § §§0 a'm'
“Defendants”), '
alleges as f<>llOWS= PER CHAMBERS, No ORAL
ARGUMENT UNLESS REQUESTED
Defendants, BY THE COURT
Does 1-100 P\Iotice of Motion and Motion to Dismiss
lled concurrently]
Aqtion Filed: April 28, 2017
Trlal Date: None Set `

 

 

 

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MEMORANDUM OF POINTS AND AUTHORITIES
I. INTRODUCTION

Plaintiffs IBRAHIM NASSER and SERIOUS SCENTS (“Plaintiffs”) are on
their fourth bite at the apple. Yet their Third Amended Complaint (“TAC”) repeats
the same deficiencies identified in each of the Court’s prior orders (Dkt. 28, 40, 51):
it is replete with conclusory labels and irrelevant digressions; lacks supporting facts;
and continues to flout the Court’s rules. This Court warned that “[1]ailure to file a
complaint in compliance with the Local Civil Rules will result in dismissal of this
action.” (Dkt. 51 at 2.) Because Plaintiffs still have not complied with the Rules,
dismissal is warranted on this basis alone.

Even if the substance of the TAC is considered, however, it is clear that
Plaintiffs cannot state a claim against defendant CAR-FRESHNER
CORPORATION (“CFC”) as a matter of law. First, Plaintiffs allege in a
conclusory Way that CFC is “infringing, diluting, competing unfairly, and Violating
Plaintiffs’ purported rights” by “copying of Plaintiff designs look and feel” and this
“caused and continues actual confusion in the market place [sic].” Yet the TAC
immediately contradicts this assertion, admitting that the allegedly infringing mark
(Which is actually owned by defendant Julius Samann Ltd. (“JSL”), not CFC)
preceded Plaintiffs’ alleged mark by several decades, negating the priority of use
fundamental to stating a trademark infringement claim. Further, Plaintiffs’ own
exhibits contradict their conclusory assertions that their packaging was copied, and
the TAC lacks any facts to support a likelihood of confusion.

Second, Plaintiffs ostensibly seek “cost and damages” arising from a prior
proceeding that was filed by JSL with the U.S.P.T.O.’s Trademark Trial and Appeal
Board (“TTAB”) in opposition to Plaintiffs’ trademark application CFC was not a
party to that proceeding, and cannot be liable for the actions of JSL_a separate

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entity that has not been served in this action.1 But even assuming arguendo CFC
could be liable for JSL’s conduct, the Noerr-Pennz'ngton doctrine bars any claim
based on the TTAB proceeding. Finally, the TTAB’s order flatly refutes Plaintiffs’
conclusory allegations that the proceeding was “frivolous,” much less that it was an
“exceptional case” to warrant an attorneys’ fees award under the Lanham Act. For
these reasons, Plaintiffs cannot assert a claim based on the TTAB proceeding.

It is time for the Court to put Plaintiffs’ wasteful litigation to rest. Because
amendment would be futile, the claims against CFC should be dismissed without

leave to amend.
II. PLAINTIFFS’ SERIES OF AMENDED PLEADINGS.

A. Plaintiffs’ First Three Complaints.

Plaintiffs2 filed their initial Complaint on Apri128, 2017. (Dkt. 1.) CFC
moved to dismiss (Dkt. 11), and the Court granted its motion on August 15, 2017.
(Dkt. 28.) Among other things, the Court ruled that Plaintiffs failed to adhere to
Rule 8(a) pleading standards because the Complaint was “confusing, unfocused,
argumentative, and scattered with irrelevant material, including unnecessary
aspersions on Defendants’ attorneys,” and “impermissibly group[ed] all of the
defendants together.” (Id. at 3, 4.) The Court also ruled that the Complaint
“fail[ed] to state a plausible claim for relief” under Rule 12(b)(6). (Id. at 4.) The
Court granted leave to amend, but cautioned Plaintiffs to comply with the Federal
and Local Rules in future filings. (ld. at 6-7.)

 

1 JSL is concurrently filing a Motion to Quash for defective service.

2 None of Plaintiffs’ four complaints specify the corporate form of Plaintiff Serious
Scents. “Serious Scents, Inc.” is a California corporation (with “Hachem Ibrahim
Nasser” listed with the Secretary of State as its Agent for Service of Process), and
Was dissolved on April 19, 2017. As a general rule, a corporation may not appear
pro se in any action. See, e.g., Bigelow v. Brady, 179 F.3d 1164, 1165 (9th Cir.
1999). Moreover, “pro se representation of a dissolved corporation is
impermissible.” Chanel, Inc. v. Pishon Trading, Inc., 2013 WL 12123991, at *2
(C.D. Cal. Mar. 12, 2013) (citation omitted).

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On September 7, 2017, Plaintiffs served their erroneously named “Second
Amended Complaint” (“SAC”). The caption of the SAC listed six claims for relief,
while the SAC’s opening paragraph listed only four claims. (SAC at 1-2.) The
bulk of the SAC was devoted to recitations of legal authority rather than factual
support. (See generally id. at 5-13.) The SAC was stricken by the Court sua sponte
for failure to comply with the local rules. (Dkt. 40.) The Court gave Plaintiffs
leave to file a “conforming” complaint (Id at 2.)

Plaintiffs served a so-called “Amended Complaint,” by mail, on October 5 ,
2017 (the “AC”). Despite discrepancies, the AC was accepted by the Court on
October 19, 2017. (Dkt. 42.) Among the multiple defendants listed in the caption
is “Julius Samann Ltd dba Car-Freshner dba Little Tree.” The AC’s caption listed
six claims for relief, While the opening paragraph listed only four claims. (Dkt. 42
at 1-2.) Like the prior complaints, the AC was filled With irrelevant digressions and
legal citations. The bare facts alleged With respect to CFC appeared to be the basis
for two claims: a claim for “damages” Plaintiffs allegedly suffered from a prior
TTAB proceeding in which their trademark applications were challenged; and a
claim for trademark infringement because CFC allegedly “cop[ied] the exact
packaging of Mr. Nasser.” (See Dkt. 42 at 40.)

CFC filed a motion to dismiss the AC on October 23, 2017. (Dkt. 44.) On
October 31, 2017, the Court issued an order striking the AC for failure to comply
with L. Civ. R. 15.1. (See Dkt. 51.) In particular, the Court ruled that the AC was
not “complete in itself Without reference to the superseded pleading,” in violation of
L. Civ. R. 15.1(a). (Id. at 2.) The AC also was not “accompanied by a version of
that pleading that shows-through redlining, underlining, strikeouts, or other
similarly effective typographic methods_how that pleading differs from the
previously dismissed pleading” in violation of L. Civ. R. 15.l(c). (Id.) The Court

granted Plaintiffs leave to file a “conforming” complaint, but Warned that “[f]ailure

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to file a complaint in compliance with the Local Civil Rules will result in dismissal
of this action.” (Id.)

B. Plaintiffs’ Third Amended Complaint.

On November 29, 2017, Plaintiffs filed a third amended complaint, titled
“Amended Complaint Damages and Declaratory and Injunctive Relief” (the
“TAC”). (Dkt. 52.) The TAC lists nine claims for relief in its caption (TAC at 1),
but the body of the complaint only sets out three enumerated “causes of action” (see
TAC at 17, 19, 20), of which only the first and third are specifically asserted against
CFC. The first “cause of action,” in its title, seeks a “declaration of trademark
infringement, unfair competition, and trademark dilution.” (Id. at 17.) The third
“cause of action” seeks a “declaration of federal trademark infringement under 15
U.S.C. § 1114.” (Id. at 20.) As With Plaintiffs’ prior two amended complaints, this
version again fails to fully comply with L. Civ. R. 15.1.

The caption of the TAC lists both JSL and CFC as separate defendants, but in
the body describes them as “Defendant Julius Samann Ltd. Aka Car-Freshner Co.”
(E.g., TAC at 4, 11 15.) Plaintiffs also assert that JSL “owns” CFC. (Id. at 17, 11 65.)
(As set forth in each of CFC’s motions to dismiss, JSL is a separate entity
incorporated in Bermuda.) The TAC, however, does recognize the proper
relationship: that CFC is JSL’s licensee in the United States. (Id. at 7, 11 29.)

Plaintiffs’ first “cause of action” makes the largely conclusory (and

confusing) allegation that:

Jul_ius Samann L_td. [is] infrin ing, diluting, competing unfairl ,
and violating1 Plainti_ffs purporte _rights in the S_erious S_cents an
Little C_}rena es Designs by alteration and changing its displa s and
marketin header card to mirror changes made y lainti asser in
their disp ay and design logo.

There is a Likelihood of_` confusion, whic_h exists with respect to
Julius Samann L_td. Designs which _copyin of Plaintiff designs look
and feel of the di_spla s and marketing ea er card products display in
the same marketing c annels.

(TAC at 18,1[ 69.)

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This allegation is apparently based on the earlier assertion that “Plaintiffs
Nasser” sent cease-and-desist letters to JSL. (Id. at 17, 11 66.) Attached as Exhibit 9
to the TAC are four 2017 letters titled “Demand Cease and Desist Letter” that were
allegedly sent by Plaintiffs to JSL. (The fact that each letter Was addressed to JSL,
not CFC, reflects Plaintiffs’ tacit recognition that JSL, not CFC, is the proper
defendant on any infringement claim.) The letters include copies of the packaging
allegedly used in Plaintiffs’ “Little Grenade” air freshener and JSL’s “Little Tree”
air freshener, in a side-by-side comparison, and assert that JSL’s “Little Tree” logo
is “substantially similar to the LITTLE GRENADE® design dated January 5,
2010” used by Mr. Nasser. (E.g., TAC Ex. 9 at 4.) In the same Exhibit, Plaintiffs
also include a copy of the register from the U.S.P.T.O., showing that JSL registered
the “Little Tree” word mark on August 12, 1975 . (TAC Ex. 9 at 48.) The letters
assert that JSL made a “material alteration” to the “Little Tree” logo, by adding an
“s” to the logo (so that it reads, “Little 'l`rees”),3 adding a registered trademark
symbol (“®”), changing the font style, and adding two colored rectangles.

Plaintiffs go on to request, “pursuant to the Federal Declaratory Judgment
Act, 28 U.S.C. §§ 2201 ET SEQ., that this Court declare that Defendants
Energizer Brands II LLC. and Julius Samann Ltd. have colluded With the sale of
infringed, diluted products of Plaintiff Nasser by the proceeds which is unjust
enrichment at the PlaintiffNasser's ongoing expense.” (TAC at p. 18, 11 72
[emphasis supplied].) The TAC, however, has no factual support for this alleged
“collusion.”

Plaintiffs next allege in this “cause of action” that JSL:

Was involved in the act and action of bringing a false claim in
Trademark Board for un ust economic advantage. This caused the legal
resources of th_e Plaintif to b_e limited _this reduced plaintiffs ability to
bring legal action for injunctive relief in other court action to stop the

 

3 Plaintiffs also helpfully include a copy of the register from the U.S.P.T.O.,
reflecting that JSL registered the “Little Trees” word mark on July 30, 1995,'with
the first use in commerce occurring in 1957. (See, e.g., TAC Ex. 9 at 29.)

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the efendants who used the collective knowledge of the total l_ack
legal_ resources of t_he Plaintiff to be limited to the point _where it was_ a
phylsical and le al_ impossibility to fi t multiple law suits iri`protecti_on
o_f is trademar rights efforts of all efendants to deny Mr. asser his
rights to the sales proc_eeds and the fair market value of the final sale of
the defendant companies to Defendants Energizer Brands II LLC.

(TAC at 18-19, 11 73.)

Plaintiffs next allege that JSL has infringed (and is infringing) certain of
Plaintiffs’ trademarks in violation of the Lanham Act, and that JSL has
“abandoned” its trademarks and established “new products and designs under the
false pretense that they are the same as the Trademark issued to them when in fact
they are not,” also purportedly in violation of the Lanham Act. (TAC at 19, 1111 74,
76.)

Plaintiffs third “cause of action” contains the bare conclusion that Defendants
“have abandoned their original trademark registration mark what cause and likely to
continue to cause confusion, or to cause mistake, or to deceive purchasers and
customers as to the source, origin or sponsorship of Defendants products, and that
the trade and consuming public believe and are likely to believe that products
bearing the respective marks originate from the same source of origin.” (TAC at
20, 11 84.)

III. THE TAC FAILS TO STATE A CLAIM AGAINST CFC.

A. Legal Standard.
A motion to dismiss under Rule 12(b)(6) should be granted where, as here,

there is either a “lack of a cognizable legal theory” or “the absence of sufficient
facts alleged under a cognizable legal theory.” Balistreri v. Pacifica Polz'ce Dep ’t,
901 F.2d 696, 699 (9th Cir. 1988). To survive a motion to dismiss, a complaint
must “plead[] factual content that allows the court to draw the reasonable inference
that the defendant is liable for the misconduct alleged.” Ashcroj? v. Iqbal, 556 U.S.
662, 678 (2009). Although the Court must accept as true a complaint’s well-

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pleaded facts, conclusory allegations and unwarranted inferences do not suffice and
cannot defeat a motion to dismiss. Vasquez v. L.A. County, 487 F.3d 1246, 1249
(9th Cir. 2007); Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir.
2001)

A plaintiff must “provide the ‘grounds’ of his ‘entitle[ment] to relief" [which]
requires more than labels and conclusions [f]actual allegations must be enough
to raise a right to relief above the speculative level.” Bell Atl. Corp. v. Twombly,
550 U.S. 544, 555 (2007); see also In re Syntex Corp. Sec. Litig., 95 F.3d 922, 926
(9th Cir. 1996) (court is not required to construe “conclusory allegations of law and
unwarranted inferences” in favor of the nonmoving party); lleto v. Glock, 349 F.3d
1191 , 1200 (9th Cir. 2003) (a court should “not accept any unreasonable inferences
or assume the truth of legal conclusions cast in the form of factual allegations”).
Put another way, a motion to dismiss should be granted unless the factual
allegations push the claim “across the line B'om conceivable to plausible.”
Twombly, 550 U.S. at 570. A pro se plaintiff must comply With the Twombly
standards, and must allege facts sufficient to state a plausible claim. See, e.g.,
Lukashl`n v. Suttell & Hammer PS, 617 Fed. Appx. 811, 811-12 (9th Cir. 2015),
citing Hebbe v. Pliler, 627 F.3d 338, 341-42 (9th Cir. 2010).

B. Plaintiffs Cannot State a Claim for Trademark Infringement.

The focus of the TAC’s claims against CFC is the purported infringement by
CFC of Plaintiffs’ trademarks. Plaintiffs, however, have not and cannot satisfy the
elements to allege a trademark infringement claim.

A trademark inh‘ingement plaintiff “must allege (1) that it has a protected
interest in a registered mark; (2) that defendant used in commerce a copy,
reproduction, or counterfeit of its mark in connection with the sale or advertising of
goods and services; and (3) that defendant’s use of the mark is likely to cause
consumer confusion, mistake, or deception.” Coach, Inc. v. Celco Custorns Servs.

Co., 2013 WL 12122691, at *5 (C.D. Cal. Jan. 28, 2013) (citations omitted). To

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plead a false designation of origin claim under 15 U.S.C. § 1125(a)(1)(A), a
plaintiff must allege that the defendant “used in commerce a term, name, symbol, or
device, or any combination thereof, Which is likely to cause confusion, or to
cause mistake, or to deceive as to the affiliation, connection, or association of
Defendant with Plaintiff, or as to the origin, sponsorship, or approval of his goods
by Plaintiff.” Id., at *9. A plaintiff may not allege these elements in a conclusory
fashion, but must allege sufficient supporting facts. See, e.g., id. at *6; see also
McCall ’s Counlrjy Canning, Inc. v. Paula Deen Enterprises, LLC, 2010 WL
11508996, at *2 (S.D. Cal. Feb. 8, 2010) (“The mere allegation, unaccompanied by
factual support, that consumers are likely to mistake a defendant’s goods for
plaintiff s goods is insufficient to survive a motion to dismiss.”) (citations omitted);
cf. Vasquez, 487 F.3d at 1249. The TAC, however, does not satisfy these elements.

First, Plaintiffs’ assert a conclusory claim that the “Little Trees” logo is
somehow too similar to the “Little Grenade” logo. (See TAC at 18, 11 69 & Ex. 9.)
Although Plaintiffs attach various documents to the TAC regarding their
trademarks, there is no registration for any design mark incorporating the words
“Little Grenade.” Plaintiffs have failed to show that they have a “protected interest
in a registered mark” at issue. Coach, Inc., 2013 WL 12122691, at *5.

Second, priority of use is the sine qua non for a plaintiff to establish
trademark infringement Hana Financial v. Hana Bank, _ U.S. _, 135 S. Ct. 907,
909 (2015) (“Rights in a trademark are determined by the date of the mark’s first
use in commerce. The party who first uses a mark in commerce is said to have
priority over other users.”); see Grupo Gigante S.A. de C. V. v. Dallo & Co., 391
F.3d 1088, 1093 (9th Cir. 2004) (in trademark law, the general rule is that “first in
time equals first in right”). Here, Plaintiffs claim rights in the “LITTLE
GRENADE® design dated January 5, 2010.” (TAC Ex. 9 at 4.) In fact, a review of
the U.S.P.T.O. database shows that the “Little Grenade” word mark was registered
on January 5, 2010, with a claimed first use in commerce in 1993. (CFC’s Request

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for Judicial Notice filed on October 23, 2017 [Dkt. 44-3] [“RJN”], Ex. C.) No
design mark Was found incorporating “Little Grenade.” Meanwhile, the
U.S.P.T.O.’s records reflect that JSL registered the “Little Tree” Word mark on
August 12, 1975, With a claimed first use in commerce of 1974. (RJN, Ex. A.)
Thus, JSL’s use of “Little Tree” predated Plaintiffs’ use of “Little Grenade” by
decades, and JSL’s use of “Little Trees” (plural) dates back even further. 4

Third, Plaintiffs have not alleged that JSL used “a copy, reproduction, or
counterfeit of [Plaintiffs’] mark[.]” Coach, Inc., 2013 WL 12122691, at *5. As
noted above, Plaintiffs have not provided evidence of a word or design mark
incorporating “Little Grenade.” Although Plaintiffs offer a “side-by-side”
comparison of their logo with the allegedly infringing logo, they do not fully
explain the infringing elements, but allege that JSL “cop[ied] Plaintiff designs
look and feel of the displays[.]” (TAC at 18, 11 69.) Yet the exhibit itself
contradicts this assertion: the respective packaging has different Words, shapes,
font, and styling. (TAC, Ex. 9 at 3-4.) And even if there Were a confusing
similarity, it would be Plainti]fs who would be infringing, since JSL’s use of “Little
Tree” long precedes Plaintiffs’ use of “Little Grenade.”

Fourth, Plaintiffs offer the bald conclusion that the alleged “infringement
caused and continues actual confusion in the market place which has resulted in the
dilution of the fair market value [.]” (TAC at 18, 11 70.) There is no allegation that
consumers were confused (or that such confusion was likely) and no facts to
support a likelihood of confusion. McCall ’s Country Canning, Inc., 2010 WL
11508996, at *2 (plaintiff must “plead facts from which the alleged likelihood of
confusion reasonably follows” [italics in original]).

Fifth, Plaintiffs allege that JSL abandoned “its Car-Freshner Co. U.S.
Registration No,l752136 since 2012[.]” (TAC at 13, 11 48.) Plaintiffs thereafter

 

4 The “Little Trees” (plural) word ma_rk was re istered by JSL on July 30, 1996,
With a claimed first use in commerce in 1957. See RJN, Ex. B.)

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allege, as far as can be discerned, that this “abandonment” somehow caused
“confiision, mistake, while deceive the public as to the true origin, source,
sponsorship, approval or affiliation of” CFC’s products, and this “conduct therefore
constitutes unfair competition, false representation and a false designation of
origin[.]” (TAC at 19, 11 76.) Aside from the fact that it is unclear how the alleged
“abandonment” of the “Car-Freshner Co.” registration affects “Little Tree” or
“Little Trees” products, Plaintiffs have alleged no factual support for this claim,
rendering it insufficient as a matter of law. See, e.g., Coach, Inc., 2013 WL
12122691, at *6; McCall ’s Country Canning, Inc., 2010 WL 11508996, at *2.

For all these reasons, Plaintiffs cannot maintain their trademark infringement

claims against CFC.

C. Plaintiffs’ Claim Arising from the TTAB Proceeding Fails as a
Matter of Law.

A portion of Plaintiffs’ first “cause of action” asserts that JSL:

was involved in the act and action of bringing a fa_lse claim in
Trademark Board for un ust economic advantage This_ caused the legal
resources of th_e Plaintif to b_e limited _this reduced plaintiffs ability to
bring legal action for injunctive relief in other court action to sto_p the
mnmgement and le al abuses because all legal resources were tied up
in le al battle with ulius Samann L_TD. lt Was commonly known by
the efendants who used the_ collective knowledge of the total l_ack
legal resources of t_he Plaintiff to be limited to the point _Wh_ere it was_ a
phylsical and le al_ impossibility to fi t multiple law suits in rotection
o_f is trademar rights efforts of all efendants to deny Mr. asser his
rights to the sales proc_eeds and the fair market value of the final sale of
the defendant companies to Defendants Energizer Brands ll LLC.

(TAC at 18-19, il 73.) Plaintiffs attach a copy of the order of the TTAB to the TAC
as Exhibit 8 (the “TTAB Order”), and assert that the TTAB’s “positive ruling in the
favor of Mr. Nasser serves as valid legal proof that the 4 + years of costly
litigation Was in fact and truth frivolous in nature, form and content[.]” (Id. at 12, 11
46.) Plaintiffs argue that Octane Filness, LLC v. ICON Health & Fitness, Inc., _
U.S. __, 134 S. Ct. 1749 (2014), “provides recovery for loss and damages against
plaintiff Little Tree who brought a frivolous civil action ....” (Id. at 15, 11 57.) The
first “cause of action” ostensibly incorporates a claim for Plaintiffs" “loss and

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damages” arising out of the TTAB proceeding (See id.; see also TAC at 21 [Prayer
for Relief] [seeking “all damages caused by the acts forming the basis of this
complaint”].) Such a claim, even assuming it were properly pled, fails as a matter
of law. l

1. CFC Did Not Bring the TTAB Proceeding.

First, as indicated in the TTAB Order, JSL_not CFC--sought to cancel
Plaintiffs’ trademark registration on the ground the registration was void ab initio
because Plaintiffs were not using the trademark in interstate commerce at the time
of the trademark application. (See TAC, Ex. 8 at 2.) The TTAB ruled that JSL had
not carried its burden to show, by a preponderance of the evidence, that ,Plaintiffs
Were not using the trademark at the time of the application. (Id. at 15.) Plaintiffs
now seek to have this Court order CFC to pay Plaintiffs’ “loss and damages” in
connection With JSL ’s TTAB action. (See TAC at 15, 11 5 7; at 21 .)

Even assuming arguendo Plaintiffs could seek damages at all based upon the
TTAB proceeding (they cannot), such claim would only sound against JSL, not
CFC. Aside from vague (and incorrect) references to CFC as JSL’s “aka” in the
complaint, Plaintiffs have pleaded no facts to show that CFC would be liable for
JSL’s actions. Because Plaintiffs have stated no factual basis for their claim against
CFC, the claim must be dismissed.

2. Petitioning Activity to the TTAB Is Protected.

Second, even assuming that CFC could be liable for JSL’s actions in the
TTAB proceeding, the claim would still be barred as a matter of law.

Under the Noerr-Pennington doctrine, “those who petition all departments of
the government for redress are generally immune from liability” arising nom their
petitioning conduct Empress LLC v. City & Cty. of San Francisco, 419 F.3d 1052,
1056 (9th Cir. 2005), citing Manistee T own Cir. v. City of Glendale, 227 F.3d 1090,
1092 (9th Cir. 2000). Although the doctrine began in antitrust law, the Supreme
Court has extended it to actions outside of antitrust, and it has been used to defend

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petitioning activity under the Lanham Act. See id.; see also Sliding Door Co. v.
KLS Doors, LLC, 2013 WL 2090298, at *6-*7 (C.D. Cal. May 1, 2013) (applying
Noerr-Pennington doctrine to claim under § 43 of the Lanham Act); Credit
Counseling Centers of Am. v. Nat’l Found. for Consumer Credit, Inc., 1997 WL
160180, at *4 CN.D. Tex. Apr. 1, 1997) (“Noerr-Pennz`ngton applies to efforts to use
the judicial process to protect trademarks.”), citing Matrix Essentials v. Emporium
Drug Mart, 988 F.2d 587, 594 (5th Cir. 1993); Virtual Works, Inc. v. Network Sols.,
Inc., 1999 WL 1074122, at *l (E.D. Va. Nov. 23, 1999) (“the Noerr-Pennington

Doctrine confers immunity on the trademark holder for its actions to protect the

mark”).
The only exception to the Noerr-Pennz`ngton doctrine is for “sham” litigation.
See, e.g., Prof’l Real Estate Inv ’rs, Inc. v. Columbia Pictures Indus., Inc., 508 U.S.

49, 57 (1993). Litigation is only a “sham” where it is both “objectively meritless”
and “an attempt to interfere directly with the business relationships of a competitor
through the use of the governmental process-as opposed to the outcome of that
process_as an anticompetitive weapon[.]” Id. at 60-61 (punctuation and citations
omitted, italics in original); see also Sosa v. DIRECTV, Inc., 437 F.3d 923, 938 (9th
Cir. 2006). Regardless of the purposes of the suit in question, it is “perforce not a
sham” if the suit has any objective merit. See USS-POSC() Indus. v. Contra Costa
Cty. Bldg. & Const. Trades Council, AFL-CIO, 31 F.3d 800, 811 (9th Cir. 1994).
The TTAB Order reflects that JSL brought an action opposing Plaintiffs’
trademark registrations with the TTAB. (TAC Ex. 8 at 2.) Petitioning activity
before the U.S.P.T.O. is protected by Noerr-Pennington. See California Motor
Transp. Co. v. Trucking Unlimited, 404 U.S. 508, 510 (1972) (Noerr-Pennington
extends to actions before administrative agencies); PODS Enterprises, Inc. v. ABF
Freight Sys., Inc., 2011 WL 4948397, at *5 (M.D. Fla. Oct. 17, 2011) (“the U.S.
Patent and Trademark Office is an administrative agency’-’); EZ Loader Boat
Trailers, Inc. v. Cox Trailers, Inc., 746 F.2d 375, 377-78 (7th Cir. 1984) (TTAB

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acts in a “judicial capacity” and a trademark opposition proceeding “is an adversary
proceeding” [italics in original]).

Accordingly, JSL’s filing of an opposition with the TTAB to Plaintiffs’
trademark applications is protected by Noerr-Pennington. Although Plaintiffs
summarily allege that the TTAB action was “frivolous,” this bare conclusion is
woefully insufficient to invoke the doctrine’s “sham litigation” exception See, e.g.,
Vasquez, 487 F.3d at 1249 (conclusory allegations do not suffice to satisfy “sham
litigation” exception and cannot defeat a motion to dismiss). Moreover, a review of
the TTAB’s 15-page decision shows that JSL’s action was unsuccessful not because
it was frivolous or meritless, but because, after a careful review of the evidence, the
TTAB determined that JSL had simply failed to adduce sufficient evidence to carry
its “preponderance of the evidence” burden regarding non-use of the trademark.
(See TAC Ex. 8 at 15.)

Because the TAC makes clear that this claim arises out of protected
petitioning activity, the claim must be dismissed With prejudice.

3. The TTAB Proceeding Was Not an “Exceptional” Case.

Third, even assuming arguendo Plaintiffs’ claim were not barred under the
Noerr-Pennington doctrine, Plaintiffs still fail to state a claim. Plaintiffs cite
Octane Fitness, LLC, supra, as “remov[ing] the impossible legal burden that once
made it a physical and legal impossibility to recover cost and damages for being
forced to suffer the unmeritorious, frivolous litigation brought by” JSL “in the
TTBA [sic] of cancellation and opposition against the Plaintiff Trademark
Registration.” (TAC at 15, 11 58.) Plaintiffs misrepresent the holding of Octane
Fitness.

Under the Lanham Act, “[t]he court in exceptional cases may award
reasonable attorney fees to the prevailing party.” 15 U.S.C. § 1117(a) (emphasis
supplied). Octane Fitness, a patent case, held that, under a similar statue
concerning patents, an “exceptional” case was “one that stands out from others with

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respect to the substantive strength of a party’s litigating position (considering both
the governing law and the facts of the case) or the unreasonable manner in Which
the case was litigated.” 134 S. Ct. at 1756. That definition of “exceptional” has
been extended to requests for attorney fee awards under the Lanham Act.
SunEarth, Inc. v. Sun Earth Solar Power Co., 839 F.3d 1179, 1180-81 (9th Cir.
2016).

Neither Octane Fitness nor Section 1117 requires an award of “cost and
damages” as Plaintiffs assert. At most, Section 1117 allows, in the court’s
discretion, an award of “reasonable attomeys’ fees” only in an “exceptional”
trademark case. “[T]he Ninth Circuit construes the ‘exceptional cases’ requirement
narrowly,” and, “under this standard, defendants are ‘rarely’ awarded attorney
fees[.]” Sophia & Chloe, Inc. v. Brighton Collectibles, Inc., 2016 WL 3211800, at
* 15 (s.i). Cal. Mar. `21, 2016) (citation omitted).

Moreover, even assuming arguendo that Plaintiffs could file a separate court
action to recover fees incurred in a TTAB proceeding to oppose a trademark
application, Plaintiffs have alleged no facts showing the TTAB matter was an
“exceptional” case within the meaning of Section 1117. At most, Plaintiffs assert
that the TTAB case was “unmeritorious” and/or “frivolous.” (See, e.g., TAC at 15,
11 58.) But this unsupported conclusion cannot save the claim, particularly where
documents incorporated by reference into the TAC (and also subject to judicial
notice) refute that assertion. Here, the TTAB Order demonstrates that the TTAB’s
finding was based on the unremarkable proposition that JSL failed to prove a lack
of use in commerce at the time of registration. Notably, the TTAB did not even
find the marks were actually in use, just that JSL had failed to meet its burden to

demonstrate they were not.

 

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IV. PLAINTIFFS CONTINUE TO FLOUT THE RULES.

As the Court noted in its Order dismissing Plaintiffs’ initial Complaint:

Rule 8(a) provides t_hat a complaint must contain_“a sh_ort and plain
statement_of the claim showing that the plaintiff is entitled to_ relief.”
F_ed. R. Civ. P. 8(a)(2). Although the pleadings of pro se laintiffs are
liberally construed, the basic pleading re uir_ements of Ru e 8 apply to
self-represented and re resented plaintif s alike. Ghazali v. Moran, 46
F.3d 5 , 54 (9th Cir. l 95);_ Wynder v. McMahon,_360 F.3d 73_, 79 n.
11 (2d Cir. 2004). _Complairits that are too confusing an_d prolix to
;perform the essential functions of a com liant” are subject to
ismissal under_ Rule 8(a . See, _e.g., Mc en v. _Renne, 84 F.3d 1172,
1177-80 (9th Cir. 1996) upholding a Rule 831 dismissal of a
complaint that was “ar umentative, rolix, rep ete With redundancy,
and arger irrelevant” gHatch v. Re ian_ce I_ns. Co., 758 F.2d 409, 415
(9th Cir. 1985) (ugholding a Rule 8(a) dismissal of a complaint that

Was confusing an conclusory).
(Dkt. 28 at 3.) The Court warned Plaintiffs that, even though they were

“proceeding pro se, they must nevertheless comply with the applicable rules of civil
procedure.” (Dkt. 28 at 7, citing King v. Atiyeh, 814 F.2d 565, 567 [9th Cir. 1987].)
Plaintiffs, however, have failed to heed the Court’s directive, repeating virtually all

of the same errors as their prior complaints Among other things:

0 The TAC contains little in the Way of factual support.

0 The caption has nine numbered claims. In contrast, the TAC asserts
three enumerated “causes of action.”

0 As in the prior complaints, “[t]he body of the [TAC] refers almost
exclusively to Nasser, making it unclear Which claims are being
asserted on behalf of Serious Scents, or what type of entity Serious
Scents is.” (Dkt. 28 at 4.) The TAC also frequently refers to
“Plaintiff” (in the singular) without indicating to which Plaintiff the
allegation refers. (See, e.g., TAC at 9, 11 36 (“Plaintiff products and

packaging sufficient to show confusion ....”); at 15, 11 59 (“Plaintiff has

enjoyed success and substantial ....”); at 15, 11 61 (“Plaintiff has
suffered and will continue to suffer evidentiary and expectation

prejudice ...”).

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0 The TAC, as has each of Plaintiffs’ amended complaints, fails to
comply with Civil Local Rule 15.1(c), requiring that “[a]ny amended
pleading filed after the granting of a motion to dismiss or motion to
strike with leave to amend, must be accompanied by a version of that
pleading that shows how that pleading differs from the previously
dismissed pleading.”

V. THE CLAIMS AGAINST CFC SHOULD BE DISMISSED WITHOUT
LEAVE TO AMEND.

Leave to amend should be denied where, as here, it is clear that the
complaint’s deficiencies cannot be cured by further amendment See, e.g., Agnew v.
Lawson, 2015 U.S. Dist. LEXIS 169576, at *9 (S.D. Cal. Dec. 16, 2015), citing
Lopez v. Smith, 203 F.3d 1122, 1130 (9th Cir. 2000) and Schmier v. U.S. Court of
Appeals, 279 F.3d 817, 824 (9th Cir. 2002). Therefore, “[i]t is not an abuse of
discretion to deny leave to amend when any proposed amendment would be futile.”
Reddy v. Litton Indus., Inc., 912 F.2d 291, 296 (9th Cir. 1990); see also Hollins v.
Munks, 2014 U.S. Dist. LEXIS 29994, at *6 (N.D. Cal. Mar. 7, 2014) (“Under
Ninth Circuit case law, district courts are only required to grant leave to amend if a
complaint can possibly be saved. Courts are not required to grant leave to amend if
a complaint lacks merit entirely.”), quoting Lopez 203 F. 3d at 1129.

Here, Plaintiffs have had four opportunities to plead claims against CFC.
Because their allegations demonstrate that leave to amend would be futile, the
claims against CFC should be dismissed without leave to amend See, e.g.,
Leadsinger, Inc. v. BMG Music Pub., 512 F.3d 522, 532 (9th Cir. 2008) (denial of
leave to amend proper where there has been “repeated failure to cure deficiencies by
amendments previously allowed, undue prejudice to the opposing party by virtue of
allowance of the amendment [and/or] futility of amendment”), quoting F oman v.

Davis, 371 U.s. 178, 182 (1962).

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VI. CONCLUSION

For the foregoing reasons, CFC’s motion should be granted, and the claims

against it should be dismissed with prejudice.

DATED: December 13 , 2017

DAvIs WRIGHT TREMAINE LLP

SCOTT R. COMl\/[ERSON
HOWARD L()RING ROSE

By: /s/ Scott R. Commerson
Scott R. Commerson

Attorne s for Defendant
CAR-F SHNER CORPORATION
egnneously sued as _“CAR FRESHNER

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CERTIFICATE OF SERVICE
I certify that on December 13, 2017, DEFENDANT CAR FRESHNER
CORPORATION’S MEMORANDUM OF POINTS AND AUTHORITIES IN
SUPPORT OF MOTION TO DISMISS THIRD AMENDED COMPLAINT
Was electronically filed with the Clerk of the Court using the CM/ECF system
which Will send electronic notification of such filing to the CM/ECF participant(s)

noted below.

KILPATRICK TOWNSEND & STOCKTON LLP
NANCY L. STAGG (CA State Bar No. 157034)
12730 High Bluff Drive

Suite 400

San Diego, CA 92130

Telephone:(85 8) 350-6156

Facsimile: (858) 350-6111

Email: nstagg@kilpatricktownsend.com

I certify under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct

By: /s/Scott R. Commerson
Scott R. Commerson

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PROOF OF SERVICE BY MAIL

I am employed in the County o_f Los Angeles, State_of Califomia._ l am _over
the _a e of 18 and not a §ar_ty to the within action. My business address is Davis
Wri t Tremaine LLP, uite 2400, 865 South Figueroa Street, Los Angeles,

Cali ornia 90017-2566.

On December 13, 2017, I served the fore oin documenl§&s())described as:
DEFENDANT CAR FRESHNER CORPO TI N’S ME RANDUM OF
POINTS AND AUTHORITIES IN SUPPO_RT OF MOTION TO DISMISS
THIRD AMENDED COMPLAINT by placing a true co y of said document(s)
enclosed in a sealed envelope(s) for eac addressee named elow, with the name
and address of the person served shown on the envelope as follows:

Plaintiff Ibrahim Nasser Plaintiff Serious Scents
Pro Se Pro Se

Ibrahim Nasser Serious Scents

P.O. Box 5626 P. O. Box 5626

Chula Vista, CA 91912 Chula Vista, CA 91912

_ I placed such_ envelope(s) with postage thereon fully fprepaid for deposit in_the
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- States of America that the foregoing is true and correct.and that I
am employed in the office of a member of bar of this Court at
whose direction the service was made;j,~h,,~'

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